                   Case 16-30603 Document 114 Filed in TXSB on 11/29/16 Page 1 of 37


 Fill in this information to identify the case:
 Debtor name          Riverside General Hospital, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          16-30603                                                                                     Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          A Rocket Storage                                 subject to a lien                                       Unknown                     $0.00

          Creditor's mailing address                       Medical Records and miscellaneous
          3401 Corder St                                   items
                                                           Describe the lien
                                                           Agreement

          Houston                    TX   77021            Is the creditor an insider or related party?
                                                                No
          Creditor's email address, if known
                                                                Yes

          Date debt was incurred                           Is anyone else liable on this claim?
                                                               No
          Last 4 digits of account
          number                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)

          Do multiple creditors have an interest in        As of the petition filing date, the claim is:
          the same property?                               Check all that apply.
              No                                               Contingent
              Yes. Specify each creditor, including this       Unliquidated
              creditor, and its relative priority.             Disputed




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                             $24,434,654.13


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Beckman Coulter, Inc                                subject to a lien                                    $384,424.28             $384,424.28

         Creditor's mailing address                          Real Property
         c/o Bernstein-Burkley, P.C.                         Describe the lien
         707 Grant St. Ste 2200, Gulf Tower                  Judgment Lien
                                                             Is the creditor an insider or related party?
         Pittsburgh                 PA    15219                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                     Describe debtor's property that is
         Briar Capital                                       subject to a lien                                 $3,962,162.44            $3,962,162.44

         Creditor's mailing address                          Casa
         1500 City W. Blvd                                   Describe the lien
                                                             Agreement
                                                             Is the creditor an insider or related party?
         Houston                    TX    77042                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         Cleveland ISD                                       subject to a lien                                       $7,515.68            $584,060.00

         Creditor's mailing address                          Liberty County Property
         PO Box 3064                                         Describe the lien
                                                             Ad Valorem Taxes - Secured
                                                             Is the creditor an insider or related party?
         Houston                    TX    77253                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.5     Creditor's name                                     Describe debtor's property that is
         Dixon Financial Services, LTD                       subject to a lien                                 $7,912,031.17            $7,560,251.00

         Creditor's mailing address                          All personal property of the Debtor
         George O. Mejlaender                                Describe the lien
         PO Box 801261                                       Secured Debt
                                                             Is the creditor an insider or related party?
         Houston                    TX    77280                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) Dixon Financial Services, LTD;
               2) Federal Emergency
               Management Agency; 3) Harris
               County et al.
                Yes. The relative priority of creditors is
                specified on lines


Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
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Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.6     Creditor's name                                     Describe debtor's property that is
         Federal Emergency Management Agencysubject to a lien                                                  $5,000,000.00            $5,000,000.00

         Creditor's mailing address         FEMA Funds
         500 C Street S.W.                                   Describe the lien
                                                             Secured Debt
                                                             Is the creditor an insider or related party?
         Washington                 DC    20472                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.7     Creditor's name                                     Describe debtor's property that is
         Galveston County                                    subject to a lien                                         $160.89                 $160.00

         Creditor's mailing address                          Ad Valorem Taxes
         Linebarger Goggan Blair & Sampson LLPDescribe the lien
         P.O. Box 3064                                       PROPERTY TAX
                                                             Is the creditor an insider or related party?
         Houston                    TX    77253-3064              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




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Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.8     Creditor's name                                     Describe debtor's property that is
         Greater Southeast Management District subject to a lien                                                     $1,365.14               $1,365.14

         Creditor's mailing address            Property Taxes
         PO Box 73109                                        Describe the lien
                                                             Ad Valorem Property Taxes
                                                             Is the creditor an insider or related party?
         Houston                    TX    77273                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5
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Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.9     Creditor's name                                     Describe debtor's property that is
         Harris County et al                                 subject to a lien                                    $824,940.37         $19,566,188.00

         Creditor's mailing address                          Ad Valorem Taxes
         Linebarger Goggan Blair & Sampson LLPDescribe the lien
         P.O. Box 3064                                       PROPERTY TAX
                                                             Is the creditor an insider or related party?
         Houston                    TX    77253-3064              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               For 3204 Ennis St. Houston,
               Texas 77004-3213: See 2.5. For
               3217 Anita St. Houston, Texas
               77004: 1) Houston Liens; 2)
               Harris County et al. For 4514
               Lyons Ave. Houston, Texas
               77020: 1) Harris County et al. For
               2802 Live Oak, Houston, Texas
               77004: 1) Harris County et al. For
               2711 Live Oak Houston, Texas
               77004: 1) Harris County et al. For
               2918 Rosalie St. Houston, Texas
               77004: 1) Harris County et al. For
               3213 Delano St. Houston, Texas
               77004: 1) Harris County et al. For
               3215 Delano St. Houston, Texas
               77004: 1) Harris County et al. For
               3103 Paige St. Houston, Texas
               77004: 1) Harris County et al. For
               3204 Paige St. Houston, Texas
               77004: 1) Harris County et al. For
               2829 Holman St. Houston, Texas
               77002: 1) Harris County et al. For
               3005 Holman St. Houston, Texas
               77004: 1) Harris County et al. For
               3002 Holman St. Houston, Texas
               77004: 1) Harris County et al. For
               3020 Holman St. Houston, Texas
               77004: 1) Harris County et al. For
               0 Chisom St. Houston, Texas
               77004: 1) Harris County et al. For
               0 Chisom St. Houston, Texas
               77004: 1) Harris County et al. For
Official Form 206D          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 6
               0 Elgin, Houston, Texas 77004: 1)
               Harris County et al.
                Yes. The relative priority of creditors is
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Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:        Additional Page                                                                              Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.10 Creditor's name                                        Describe debtor's property that is
         HISD                                                subject to a lien                                       Unknown                     $0.00

         Creditor's mailing address                          Property Taxes
         Linebarger Gogan Blair & Sampson                    Describe the lien
         1300 Main Street, Suite 300                         Judgment Lien
                                                             Is the creditor an insider or related party?
         Houston                    TX    77002                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.11 Creditor's name                                        Describe debtor's property that is
         Houston Liens                                       subject to a lien                                         $446.73             $55,000.00

         Creditor's mailing address                          Ad Valorem Taxes
         Linebarger Goggan Blair & Sampson LLPDescribe the lien
         P.O. Box 3064                                       PROPERTY TAX
                                                             Is the creditor an insider or related party?
         Houston                    TX    77253-3064              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.9




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Debtor         Riverside General Hospital, Inc.                                               Case number (if known) 16-30603

 Part 1:        Additional Page                                                                               Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.12 Creditor's name                                         Describe debtor's property that is
         Internal Revenue Service                             subject to a lien                                 $2,063,670.30            $2,063,670.30

         Creditor's mailing address                           Debtor's right, title, and interest to
         P.O. Box 7346                                        property
                                                              Describe the lien
                                                              Taxes

         Philadelphia               PA     19101-7346         Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                 No. Specify each creditor, including this
                 creditor, and its relative priority.
                 Yes. The relative priority of creditors is
                 specified on lines

 2.13 Creditor's name                                         Describe debtor's property that is
         JLE Investors                                        subject to a lien                                 $1,135,212.02            $1,135,212.02

         Creditor's mailing address                           3204 Ennis
         710 Post Oak                                         Describe the lien
         208                                                  Agreement
                                                              Is the creditor an insider or related party?
         Houston                    TX     77024                   No
                                                                   Yes
         Creditor's email address, if known
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                   No
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
             Yes. Have you already specified the                  Disputed
                  relative priority?
                 No. Specify each creditor, including this
                 creditor, and its relative priority.
                 Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 8
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Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.14 Creditor's name                                        Describe debtor's property that is
         Reliant Energy Retail Services, LLC                 subject to a lien                                    $614,826.91             $309,975.77

         Creditor's mailing address                          Summary Judgment and Abstract of
         P.O. BOX 1046                                       Judgment
                                                             Describe the lien
                                                             Judgment Lien

         Houston                    TX    77251              Is the creditor an insider or related party?
                                                                  No
         Creditor's email address, if known
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
                                                                 No
         Last 4 digits of account
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.15 Creditor's name                                        Describe debtor's property that is
         Texas City ISD                                      subject to a lien                                          $41.99                  $41.99

         Creditor's mailing address                          Ad Valorem Taxes
         Linebarger Goggan Blair & Sampson LLPDescribe the lien
         P.O. Box 3064                                       PROPERTY TAX
                                                             Is the creditor an insider or related party?
         Houston                    TX    77253-3064              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




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Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.16 Creditor's name                                        Describe debtor's property that is
         Texas workforce commission                          subject to a lien                                     $27,856.21              $27,856.21

         Creditor's mailing address                          Tax Lien
         Regulatory Interity Division- SAU                   Describe the lien
         101 E. 15th St., Room 556                           Unemployment Taxes
                                                             Is the creditor an insider or related party?
         Austin                     TX    78778-0001              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.17 Creditor's name                                        Describe debtor's property that is
         Triple 8 Venture Corp.                              subject to a lien                                 $2,500,000.00            $2,500,000.00

         Creditor's mailing address                          3204 Ennis
         c/o Alan R. Scheinthal                              Describe the lien
         Scheinthal & Kouts, LLP                             Secured Debt
         4635 Southwest Frwy., Suite 720                     Is the creditor an insider or related party?
         Houston                    TX    77027                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 10
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 Fill in this information to identify the case:
 Debtor              Riverside General Hospital, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         16-30603                                                                                  Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the              $130,943.00           $12,475.00
                                                                claim is: Check all that apply.
Bevona Fairman
                                                                    Contingent
9663 Santa Monica Blvd.                                             Unliquidated
Suite 1287                                                          Disputed

                                                                Basis for the claim:
Beverly Hills                         CA      90210             Salary and Wages for Services Performed
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4 )



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the              $46,743.87          $12,475.00
                                                                claim is: Check all that apply.
Gwendolyn Reed
                                                                    Contingent
2123 Pepperglen Court                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Missouri City                         TX      77489             Unsecured Debt
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4 )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Riverside General Hospital, Inc.                                       Case number (if known)    16-30603

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


  2.3    Priority creditor's name and mailing address       As of the petition filing date, the               $33,240.00       $12,475.00
                                                            claim is: Check all that apply.
Ida Dewberry
                                                                Contingent
10815 Bradford Way Drive                                        Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Houston                            TX     77075             Unsecured Debt
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4 )



  2.4    Priority creditor's name and mailing address       As of the petition filing date, the          $6,577,287.61      $6,577,287.61
                                                            claim is: Check all that apply.
Internal Revenue Service
                                                                Contingent
P.O. Box 7346                                                   Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8 )



  2.5    Priority creditor's name and mailing address       As of the petition filing date, the                $1,354.28         $1,354.28
                                                            claim is: Check all that apply.
Nikki Trigg
                                                                Contingent
11900 Oak Moore Parkway, Unit 335                               Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Houston                            TX     77051             Unsecured Debt
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4 )




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Debtor      Riverside General Hospital, Inc.                                         Case number (if known)   16-30603

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.6    Priority creditor's name and mailing address       As of the petition filing date, the               $3,867.50         $3,867.50
                                                            claim is: Check all that apply.
Oluwaseun A. Akibola
                                                                Contingent
9700 Court Glen Dr.                                             Unliquidated
Apt 2305                                                        Disputed

                                                            Basis for the claim:
Houston                            TX     77099             Salary and Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4 )



  2.7    Priority creditor's name and mailing address       As of the petition filing date, the               $3,419.22         $3,419.22
                                                            claim is: Check all that apply.
Vivian Grant
                                                                Contingent
PO Box 146                                                      Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Missouri City                      TX     77459             Unsecured Debt
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4 )




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Debtor         Riverside General Hospital, Inc.                                         Case number (if known)      16-30603

 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $182.00
                                                                    Check all that apply.
A-Affordable Vacuum Service                                            Contingent
7039 Burkett Street                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:
Houston                                   TX       77021            Unsecured Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.2   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $662.08
                                                                    Check all that apply.
Abbott Laboratories                                                    Contingent
100 Abbott Park Road                                                   Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:
Abbott Park                               IL       60064-3500       Unsecured Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.3   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $202.82
                                                                    Check all that apply.
Absolute Meter Services                                                Contingent
10314 Sagetrail Drive                                                  Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:
Houston                                   TX       77089            Unsecured Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.4   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                    $1,702.75
                                                                    Check all that apply.
AC Contractors                                                         Contingent
13111 Cottingham Street                                                Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:
Houston                                   TX       77048            Unsecured Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes




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Debtor       Riverside General Hospital, Inc.                                       Case number (if known)      16-30603

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.5     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $3,391.51
                                                                Check all that apply.
Advantage Office Products                                          Contingent
5722 Bingle Road, Suite B                                          Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77092           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.6     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,785.00
                                                                Check all that apply.
Affordable Environmental, Inc.                                     Contingent
12322 WA-99, Suite 99                                              Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Everett                                WA       98204           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.7     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $188.80
                                                                Check all that apply.
Alarm Master Corporation                                           Contingent
10615 Rockley Road                                                 Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77099           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.8     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $2,125.32
                                                                Check all that apply.
All American Air Works                                             Contingent
P. O. Box 1000                                                     Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Sophia                                 WV       25921-1000      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Riverside General Hospital, Inc.                                       Case number (if known)      16-30603

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.9     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,740.73
                                                                Check all that apply.
Alpha Electric Company                                             Contingent
901 W. 18th Street                                                 Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77008           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.10     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $3,092.77
                                                                Check all that apply.
American Family Life Assurance                                     Contingent
AFLAC                                                              Unliquidated
                                                                   Disputed
917 Brown Avenue
                                                                Basis for the claim:
Columbus                               GA       31906           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.11     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $28,225.00
                                                                Check all that apply.
American Physicians and Supply                                     Contingent
c/o Stephen W. Lemmon                                              Unliquidated
                                                                   Disputed
Sheinfeld Maley & Kay
3700 First City Tower                                           Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.12     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $937.84
                                                                Check all that apply.
Arrow International                                                Contingent
2400 Bernville Road                                                Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Reading                                PA       19605           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.13    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $38,210.56
                                                                Check all that apply.
Automatic Data Processing                                          Contingent
4822 Martin Luther King Jr. Blvd.                                  Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77021           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.14    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $26,341.00
                                                                Check all that apply.
Bank of New York Mellon                                            Contingent
1000 Louisiana Street                                              Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.15    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $15,171.00
                                                                Check all that apply.
Beckman Instruments Inc                                            Contingent
c/o Jim D. Hamilton                                                Unliquidated
                                                                   Disputed
Twentieth Floor, Coastal Tower
Nine Greenway Plaza                                             Basis for the claim:
Houston                                TX       77046           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.16    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $20,000.00
                                                                Check all that apply.
Bennie Thomas                                                      Contingent
c/o Patricia R. Saum                                               Unliquidated
                                                                   Disputed
Jann Scherbarth & Associates
One West Loop South, Suite 700                                  Basis for the claim:
Houston                                TX       77027           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.17    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,154.83
                                                                Check all that apply.
Beta Tech Inc                                                      Contingent
16810 Barker Springs Road, Suite 204                               Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77084           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.18    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,392.46
                                                                Check all that apply.
Bio-Rad Laboratories Inc.                                          Contingent
1000 Alfred Nobel Drive                                            Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Hercules                               CA       94547           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.19    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $214.50
                                                                Check all that apply.
Biomedical Waste Solutions, LLC                                    Contingent
1100 Main                                                          Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.20    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $98,741.00
                                                                Check all that apply.
Bonner, Cora                                                       Contingent
c/o H. Howard Schmerin                                             Unliquidated
                                                                   Disputed
2650 Fountain View, Suite 132
                                                                Basis for the claim:
Houston                                TX       77057           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.21    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $90,000.00
                                                                Check all that apply.
Canfield Funding LLC                                               Contingent
c/o Fred Wahrlich                                                  Unliquidated
                                                                   Disputed
Floyd, Isgur, Rios & Wahrlich, P.C.
700 Louisiana, Suite 4600                                       Basis for the claim:
Houston                                TX       77002-2732      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.22    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,346.95
                                                                Check all that apply.
Centech Communication Company                                      Contingent
10039 Bissonnet Street                                             Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77036           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.23    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $20,107.11
                                                                Check all that apply.
Centerpoint Energy                                                 Contingent
P. O. Box 4981                                                     Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77210-4981      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.24    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $52,294.00
                                                                Check all that apply.
Christus St. Joseph Hospital                                       Contingent
c/o Leon E. Pegg                                                   Unliquidated
                                                                   Disputed
Holloway & Gumbert
3701 Kirby Drive, Suite 1288                                    Basis for the claim:
Houston                                TX       77098           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.25    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $12,700.00
                                                                Check all that apply.
City of Houston                                                    Contingent
c/o Linebarger Goggan Blair & Sampson                              Unliquidated
                                                                   Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.26    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $38,268.80
                                                                Check all that apply.
City of Houston Water                                              Contingent
4200 Leeland Street                                                Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77023           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.27    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,976.57
                                                                Check all that apply.
College of American Pathologists                                   Contingent
13501 I Street NW Suite 590                                        Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Washington                             DC       20005           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.28    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $147.55
                                                                Check all that apply.
Comcast                                                            Contingent
1 Comcast Center                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Philadelphia                           PA       19103           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.29     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $439.85
                                                                Check all that apply.
Daniels Sharpmart Inc.                                             Contingent
111 W. Jackson Blvd., Suite 720                                    Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Chicago                                IL       60604           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.30     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $269,793.00
                                                                Check all that apply.
Danka Funding Company Inc.                                         Contingent
c/o Glen A. Nordt                                                  Unliquidated
                                                                   Disputed
Coats Rose Yale Ryman & Lee, P.C.
1001 Fannin Street                                              Basis for the claim:
Houston                                TX       77002-6707      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.31     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $18,167.69
                                                                Check all that apply.
Dawson Chemical & Janitorial                                       Contingent
6010 Irvington Blvd.                                               Unliquidated
                                                                   Disputed
Houston, Texas 7709
                                                                Basis for the claim:
                                                                Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.32     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $51,000.00
                                                                Check all that apply.
Dennis Lewis                                                       Contingent
c/o William H. Watson                                              Unliquidated
                                                                   Disputed
Ballard & Watson
24 Greenway Plaza, Suite 1506                                   Basis for the claim:
Houston                                TX       77046           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.33    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $244.00
                                                                Check all that apply.
Drug Enforcement Administration                                    Contingent
1433 W. Loop South, Suite 600                                      Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77027           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.34    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $3,600.00
                                                                Check all that apply.
Emdeon Business Service                                            Contingent
100 N. Byrne Road                                                  Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Toledo                                 OH       43607           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.35    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $362,094.00
                                                                Check all that apply.
Epstein Baker & Green, PC                                          Contingent
One Gateway Center                                                 Unliquidated
                                                                   Disputed
Newark, NJJ 07102
                                                                Basis for the claim:
                                                                Legal Services Rendered

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.36    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $229,399.00
                                                                Check all that apply.
Estill Affiliates LLC                                              Contingent
c/o Wendle Van Smith                                               Unliquidated
                                                                   Disputed
One Arena Place
7322 Southwest Frwy., Suite 2010                                Basis for the claim:
Houston                                TX       77074           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor        Riverside General Hospital, Inc.                                      Case number (if known)      16-30603

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.37      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $294,839.00
                                                                Check all that apply.
Ethel Austin                                                       Contingent
c/o G. Scott Fiddler                                               Unliquidated
                                                                   Disputed
5959 West Loop South, Suite 150
                                                                Basis for the claim:
Bellaire                               TX       77401           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.38      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $15,750.00
                                                                Check all that apply.
Fasthealth Corporation                                             Contingent
101 23rd Avenue                                                    Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Tuscaloosa                             AL       35401           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.39      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,500.00
                                                                Check all that apply.
Fire Safe Protection Service                                       Contingent
1815 Sherwood Forest Street                                        Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77043           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.40      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,245.55
                                                                Check all that apply.
Grainger                                                           Contingent
3232 Harrisburg Blvd.                                              Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77003           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.41    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $84,687.83
                                                                Check all that apply.
Green Bank                                                         Contingent
4000 Greenbriar                                                    Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77098           line of credit

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.42    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,051.50
                                                                Check all that apply.
Gulf Coast Regional Blood                                          Contingent
1400 La Concha Lane                                                Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77054           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.43    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,666.00
                                                                Check all that apply.
Healing Air Inc.                                                   Contingent
14502 Hiram Clark Road                                             Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77045           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.44    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $496,832.00
                                                                Check all that apply.
Healthland-Omaha                                                   Contingent
1600 Utica Avenue, Suite 300                                       Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Minneapolis                            MN       55416           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.45    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $129,600.82
                                                                Check all that apply.
Hill International, Inc.                                           Contingent
John Lynd                                                          Unliquidated
                                                                   Disputed
3200 SW Freeway, Ste 2300
                                                                Basis for the claim:
Houston                                TX       77027           Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.46    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,855.00
                                                                Check all that apply.
Hour Doc-Holding, LLC                                              Contingent
4801 Woodway, Suite 210                                            Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77056           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.47    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $142.50
                                                                Check all that apply.
Hurricane Glass                                                    Contingent
11000 Gulf Freeway                                                 Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77034           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.48    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $2,147.63
                                                                Check all that apply.
IMMUCOR Inc.                                                       Contingent
3700 Mangun Road                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77092           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.49    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,467.60
                                                                Check all that apply.
INFOLAB Inc.                                                       Contingent
690 Center Street, Suite 301                                       Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Herndon                                VA       20170           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.50    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $34,293.98
                                                                Check all that apply.
Innovative Legal Solutions, Inc.                                   Contingent
2929 Allen Parkway, Suite 2800                                     Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77019           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.51    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $133,429.67
                                                                Check all that apply.
Internal Revenue Service                                           Contingent
P.O. Box 7346                                                      Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Philadelphia                           PA       19101-7346      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.52    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $190.00
                                                                Check all that apply.
JB's Carpet Cleaning                                               Contingent
2313 W. Sam Houston Pkwy N., Suite 131                             Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77043           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Riverside General Hospital, Inc.                                       Case number (if known)      16-30603

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.53     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $950.00
                                                                Check all that apply.
JC Electirical Service                                             Contingent
630 Westfield Lane                                                 Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Friendswood                            TX       77546           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.54     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,289.04
                                                                Check all that apply.
Krames Staywell, LLC                                               Contingent
780 Township Line Road                                             Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Yardley                                PA       19067           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.55     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $27,695.17
                                                                Check all that apply.
Kuhn Digital, LLC                                                  Contingent
13519 Pinerock Lane                                                Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77079           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.56     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $3,745.00
                                                                Check all that apply.
Kwik Kill Exterminators of Texas                                   Contingent
715 E. Tidwell Road                                                Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77022           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.57    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $60,805.34
                                                                Check all that apply.
Laboratory Corp of America                                         Contingent
Johnson Legal Network, PLLC                                        Unliquidated
                                                                   Disputed
535 Wellington Way, Suite 380
                                                                Basis for the claim:
Lexington                              KY       40503           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.58    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $275,000.00
                                                                Check all that apply.
Lanetta Sparks                                                     Contingent
c/o John A. Elmore                                                 Unliquidated
                                                                   Disputed
3033 Fannin, Suite 101
                                                                Basis for the claim:
Houston                                TX       77004           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.59    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,519.78
                                                                Check all that apply.
Liberty Office Products                                            Contingent
8744 Westpark Drive                                                Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77063           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.60    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $132,194.00
                                                                Check all that apply.
Lyons Supermarket Corp.                                            Contingent
c/o Trang Q. Tran                                                  Unliquidated
                                                                   Disputed
Tran Law Firm
440 Louisiana, Suite 590                                        Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.61    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $420.00
                                                                Check all that apply.
Machine Ice Company                                                Contingent
8915 Sweetwater Lane                                               Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77037           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.62    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $11,361.07
                                                                Check all that apply.
Matheson Tri-Gas                                                   Contingent
2200 Houston Avenue                                                Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77007           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.63    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $5,930.77
                                                                Check all that apply.
McKesson Medical-Surgical, Inc. Successo                           Contingent
4345 Southpoint Blvd                                               Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Jacksonville                           FL       32216           Goods Sold

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.64    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $111,073.00
                                                                Check all that apply.
Medical Programs Inc.                                              Contingent
c/o Thomas Herter                                                  Unliquidated
                                                                   Disputed
Clark Hellen & Herter, P.C.
6300 Hillcroft, Suite 300                                       Basis for the claim:
Houston                                TX       77081           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.65    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $13,668.76
                                                                Check all that apply.
Mita Salvosa                                                       Contingent
6934 Kamiah Ct                                                     Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77040           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.66    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $315.00
                                                                Check all that apply.
Mitel Technologies                                                 Contingent
10603 W. Sam Houston Pkwy., Suite 400                              Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77064           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.67    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,494.42
                                                                Check all that apply.
MOD Space Storage                                                  Contingent
10604 Wallisville Road                                             Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77013           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.68    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $7,174.75
                                                                Check all that apply.
Morad A. Nashed                                                    Contingent
17211 Sandestine Dr.                                               Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Huston                                 TX       77095           Services Performed, Vacation and Unpaid Time

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.69    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,248.68
                                                                Check all that apply.
Nexus Disposal, LLC                                                Contingent
6131 Thomas Road                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77041           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.70    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $6,372.06
                                                                Check all that apply.
Office Depot, Inc.                                                 Contingent
6600 North Military Trail                                          Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Boca Raton                             FL       33496           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.71    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $4,226.00
                                                                Check all that apply.
OGH Service Company                                                Contingent
3730 Creekmont Drive                                               Unliquidated
                                                                   Disputed
Houston, Texas
                                                                Basis for the claim:
                                                                Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.72    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $626.20
                                                                Check all that apply.
Olshan Lumber Company                                              Contingent
2600 Commerce Street                                               Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77003           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Riverside General Hospital, Inc.                                       Case number (if known)      16-30603

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.73     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $11,045.51
                                                                Check all that apply.
Otis Elevator Company                                              Contingent
Attn: Treasury Services                                            Unliquidated
                                                                   Disputed
POB 109615 M/S 715-02
                                                                Basis for the claim:
Palm Beach Gardens                     FL       33410           Elevator Service & Equipment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.74     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $165.00
                                                                Check all that apply.
Pension Benefit Information                                        Contingent
711 Grand Avenue                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
San Rafael                             CA       94901           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.75     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $150.00
                                                                Check all that apply.
Pete's Welding Service                                             Contingent
711 Pearl Street                                                   Unliquidated
                                                                   Disputed
Houston, Texas
                                                                Basis for the claim:
                                                                Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.76     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $5,248.09
                                                                Check all that apply.
Pitney Bowes, Inc.                                                 Contingent
27 Waterview Dr.                                                   Unliquidated
                                                                   Disputed
3rd Fl
                                                                Basis for the claim:
Shelton                                CT       06484           Goods Sold

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Riverside General Hospital, Inc.                                       Case number (if known)      16-30603

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.77     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $5,200.00
                                                                Check all that apply.
Pitney Bowes, Inc.                                                 Contingent
27 Waterview Dr.                                                   Unliquidated
                                                                   Disputed
3rd Fl
                                                                Basis for the claim:
Shelton                                CT       06484           Goods Sold

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.78     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $8,567.37
                                                                Check all that apply.
Shashikant Shah                                                    Contingent
15602 Tarpon Springs Ct.                                           Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77095           Unpaid Payroll

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.79     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $20,000.00
                                                                Check all that apply.
State of Texas                                                     Contingent
c/o Scot Clinton Assistant Attorneys Gen                           Unliquidated
                                                                   Disputed
Consumer Protection & Public Health Divi
808 Travis, Suite 300                                           Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.80     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $188,149.81
                                                                Check all that apply.
STM & Associates Architects, LLC                                   Contingent
c/o Kevin Michael Madden, PLLC                                     Unliquidated
                                                                   Disputed
5225 Katy Freeway, Suite 520
                                                                Basis for the claim:
Houston                                TX       77007           Judgement

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.81    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $289,162.88
                                                                Check all that apply.
Stryker Medical                                                    Contingent
Lori Purkey, Purkey and Assoc., PLC                                Unliquidated
                                                                   Disputed
5050 Cascade Rd, SE, Ste. A
                                                                Basis for the claim:
Grand Rapids                           MI       49546           Sale of Goods

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.82    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $668,000.00
                                                                Check all that apply.
Surgical Medical Solutions                                         Contingent
3131 McKinney Ave                                                  Unliquidated
                                                                   Disputed
Suite 600
                                                                Basis for the claim:
Dallas                                 TX       75201           Services rendered

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.83    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
Texas Attorney General's Office                                    Contingent
PO Box 12548-MC008                                                 Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Austin                                 TX       78711           Restricted Charitable Funds

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.84    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              $15,894,114.00
                                                                Check all that apply.
Texas Department of Public Safety                                  Contingent
5805 North Lamar BLVD - MSC0220                                    Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Austin                                 TX       78752           Unsupported and noncompliant use of funds

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.85    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:               $1,151,961.74
                                                                Check all that apply.
Texas Health and Human Services Comm.                              Contingent
4900 North Lamar BLVD                                              Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Austin                                 TX       78751           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.86    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $731,826.00
                                                                Check all that apply.
Texas Health and Human Services Comm.                              Contingent
4900 North Lamar BLVD                                              Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Austin                                 TX       78751           Medicaid Disproportionate Share Hospital Program

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.87    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $139,220.00
                                                                Check all that apply.
The Aldridge Law Firm                                              Contingent
7529 Olympia Dr.                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77063           Attorney Fees

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.88    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:               $3,499,109.84
                                                                Check all that apply.
U.S Department of Health and Human Srvc.                           Contingent
Centers for Medicare and Medicaid Servic                           Unliquidated
                                                                   Disputed
The Public Ledger Building
150 S. Independence Mall West, Suite 216                        Basis for the claim:
Philadelphia                           PA       19106           Medicare Overpayment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.89    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $50,000.00
                                                                Check all that apply.
Walter D. Davis, CPA                                               Contingent
PO Box 36466                                                       Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                                TX       77236           Services Rendered

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.90    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $624.00
                                                                Check all that apply.
Wells Fargo Bank, N.A.                                             Contingent
PO Box 45038 MAC Z3057012                                          Unliquidated
                                                                   Disputed
Jacksonville, FL 322325038
                                                                Basis for the claim:
                                                                Deposit Demand Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.91    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $17,441.00
                                                                Check all that apply.
Wittaker General Medical                                           Contingent
c/o Jon D. Totz                                                    Unliquidated
                                                                   Disputed
Lapin Totz & Mayer
1415 Post Oak Park Drive                                        Basis for the claim:
Houston                                TX       77027           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.92    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $86,800.00
                                                                Check all that apply.
WTI Group LLC                                                      Contingent
2215 Dorman Court                                                  Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Katy                                   TX       77494           Money Loaned

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                  Case number (if known)      16-30603

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.              $6,712,656.35

5b. Total claims from Part 2                                                              5b.   +         $26,034,633.85


5c. Total of Parts 1 and 2                                                                5c.             $32,747,290.20
    Lines 5a + 5b = 5c.




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